                     IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA


MARK BECKER,                                               CASE NO.: 1:18-cv-71

Plaintiff,

vs.

ONEMAIN FINANCIAL
GROUP, LLC AND ONEMAIN                                     DEMAND FOR JURY TRIAL
FINANCIAL HOLDINGS, INC.

Defendants.
____________________________________________________________________________

                      PLAINTIFF MARK BECKER’S COMPLAINT

____________________________________________________________________________



        COMES NOW, Plaintiff, Mark Becker (hereafter “Plaintiff”), by and through

undersigned counsel, and hereby sues Defendant, OneMain Financial Group, LLC and OneMain

Financial Holdings, Inc. (hereafter “Defendant(s)” or OneMain), and states as follows:

                               PRELIMINARY STATEMENT

        This action arises out of Defendant’s violations of the Telephone Consumer Protection

Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”) and the North Carolina Collection Agency

Act N.C.G.S.A.      §§ 58-70-100 et seq. (hereafter the “Collection Agency Act”).           The

Defendant’s, through the use of an automated dialing machine, continually contacted Plaintiff on

his cellular telephone after Plaintiff informed Defendant’s to cease this form of harassing

communication. Defendant’s continual attempts to contact Plaintiff via this method were so

frequent as to be unreasonable and constitute harassment within the meaning of the Collection




                                               1

         Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 1 of 8
Agency Act, and constituted such a nuisance as to be clearly within the ambit of the TCPA’s

protections.

                                            PARTIES

1.      Plaintiff Mark T. Becker is an individual over the age of 18 residing at 125 Abraham

Drive, Marion, North Carolina 28752.

2.      Defendant OneMain Financial Group, LLC is, and at all times herein referenced was, a

Delaware Limited Liability Company registered to transact business within the State of North

Carolina, transacting substantial business in North Carolina, having certain minimal contacts

with the State of North Carolina and available for service of process via a Registered Agent, to

wit: CT Corporation System, 160 Mine Lake Court Suite 200, Raleigh North Carolina 27615-

6417.

3.      Defendant OneMain Financial Holdings, Inc. is, and at all times herein referenced was, a

Delaware Limited Liability Company registered to transact business within the State of North

Carolina, transacting substantial business in North Carolina, having certain minimal contacts

with the State of North Carolina and available for service of process via a Registered Agent, to

wit: CT Corporation System, 160 Mine Lake Court Suite 200, Raleigh North Carolina 27615-

6417.

                                JURISDICTION AND VENUE

1.      Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA and

28 U.S.C. § 1367 Supplemental Jurisdiction.

2.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this action, is

appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have



                                                 2

        Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 2 of 8
original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the

United States; this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).

3.        Pursuant to 28 U.S.C. § 1391(b), venue is proper in this District because the Plaintiff

resides in this District, the phone calls were received in this District, and Defendant transacts

business in this District.

                                    FACTUAL ALLEGATIONS

4.        The conduct of Defendants, which gives rise to the cause of action herein alleged,

occurred in this District, McDowell County, by the Defendant’s placing of unlawful telephone

calls to Plaintiff’s cellular telephone.

5.        Defendants, at all material times, was attempting to collect a consumer debt relating to a

loan Defendant made to Plaintiff.

6.        On or about, August 30, 2016, Plaintiff received a phone call from Defendants to collect

a debt.

7.        During the telephone call, Plaintiff informed Defendants to stop calling his cell phone

and revoked any prior express consent to contact Plaintiff via cell phone or any other form of

communication

8.        Plaintiff’s oral communication of his demand not to be contacted by Defendants

constitutes a reasonable method of revoking consent within the meaning of the FCC’s

Declaratory Ruling and Order dated July 10, 2015 (“TCPA Ruling”).

9.        Defendants nevertheless continued to contact Plaintiff on his cell phone, through live

calls, voicemails, robocalls, and text messages, on innumerable occasions.

10.       Plaintiff consistently re-expressed his demand not to be contacted by Defendants on

numerous other occasions.



                                                   3

          Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 3 of 8
11.    After Plaintiff’s initial revocation of consent, Plaintiff has received in excess of 200

telephone calls and text messages from One Main in an attempt to collect this debt.

12.    All calls to Plaintiff’s cell phone were made after Plaintiff revoked any “alleged” consent

and without the “prior express consent” of Plaintiff.

13.    Plaintiff is the regular user and carrier of the cellular telephone number One Main and

was the called party and recipient of Defendant’s automatic telephone dialing system and/or

artificial or prerecorded voice.

14.    Defendant knowingly and/or willfully called Plaintiff’s cellular telephone after Defendant

had unequivocal notice from Plaintiff to cease any and all calls and after Plaintiff withdrew any

prior consent or permission to be contacted.

15.    Defendant knowingly and/or willfully harassed and abused Plaintiff by calling Plaintiff’s

cellular telephone multiple times per day from August 30, 2016 through the filing of this

complaint.

16.    Defendant used an automatic telephone dialing system or an artificial or prerecorded

voice to place telephone calls to Plaintiff’s cellular telephone.

17.    The following phone number used by defendant to contact Plaintiff including but not

limited to, 812-475-4031.

18.    Defendant placed calls to Plaintiff's cellular telephone that included delays in time before

the telephone call was transferred to a representative to speak.

19.    Defendant left messages on Plaintiff's cellular telephone that started with a delay in time

before the representative joined the line to leave a message.

20.    Some of the voicemail messages received by Plaintiff on his cellular telephone from

Defendant sounded like an artificial or pre-recorded voice requesting a return call from Plaintiff.



                                                  4

        Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 4 of 8
21.       None of Defendant’s telephone calls placed to Plaintiff were for “emergency purposes”

as specified in 47 U.S.C. § 227 (b)(1)(A).

22.       None of Defendant’s telephone calls placed to Plaintiff were made with Plaintiff’s “prior

express consent” as specified in 47 U.S.C. § 227 (b)(1)(A).

23.       All conditions precedent to the filing of this lawsuit have been performed or have

occurred.

                                               COUNT I

                    VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

24.       Plaintiff incorporates all allegations in paragraphs 1-23 above as if stated fully

herein.

25.       Jurisdiction is proper pursuant to 47 U.S.C. § 227(b)(3).

26.       Defendant used an automatic telephone dialing system or an artificial or prerecorded

voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to Plaintiff’s cellular

telephone.

27.       Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

Defendant placed to Plaintiff’s cellular telephone using an automatic telephone dialing system or

an artificial or prerecorded voice.

          WHEREFORE, Plaintiff Mark T. Becker demands judgment against Defendant,

OneMain Financial Group, LLC and OneMain Financial Holdings, Inc., for the following relief:

          a. statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) in the amount of $500.00 for

          each of the independent violations occurring after August 30, 2016;

          b. any other relief the Court deems just and proper.




                                                    5

          Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 5 of 8
                                               COUNT II

 WILLFULL OR KNOWING VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

29.       Plaintiff incorporates all allegations in paragraphs 1-27 above as if stated fully

herein.

30.       The phone calls made by Defendant are considered willing and knowing violations of the

TCPA, as Defendant is well aware of the TCPA and its prohibitions.

31.       As part of Defendant’s business, it regularly contacts debtors in an attempt to collect

debts.

32.       Due to the nature of Defendants business described above, defendant is well aware of the

proscription of the TCPA and all FCC Regulations, Declarations, and other guidance.

33.       It is therefore incumbent upon the Defendant to comply with the TCPA, FCC

Regulations, and other guidance.

34.       The decision to ignore the proscriptions of the TCPA, FCC Regulations, and other

guidance, or fail to institute procedures designed to prevent violations of the TCPA, FCC

Regulations, and other guidance, is a willful violation of the TCPA.

          WHEREFORE, Plaintiff Mark T. Becker demands judgment against Defendants,

OneMain Financial Group, LLC and OneMain Financial Holdings, Inc., for the following relief:

          a. In addition to the relief requested in Count I, treble damages pursuant to 47 U.S.C. §

          227(b)(3) (flush language) of the amount determined in Count I in the amount of $500.00

          for each of the independent violations occurring after August 30, 2016;

          b. any other relief the Court deems just and proper.




                                                    6

          Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 6 of 8
                                              COUNT III

          VIOLATION OF THE NORTH CAROLINA DEBT COLLECTION ACT

29.      Plaintiff incorporates all allegations in paragraphs 1-28 above as if stated fully herein.

30.      Defendant violated the North Carolina Debt Collection Act, N.C.G.S. §§ 75-50 et seq.

when it knowingly called plaintiff’s cell phone on 200 hundred separate occasions over the

course of 9 months.

31.      The frequency of phone calls initiated by Defendant to Plaintiff were intended to harass

Plaintiff and induce him to make payment on a consumer debt, thereby violating N.C.G.S § 75-

52(3).

32.      The frequency of phone calls initiated by Defendant to Plaintiff are unreasonable, thereby

violating N.C.G.S § 75-52(3).

         WHEREFORE, Plaintiff Mark T. Becker prays the Court for judgment against the

Defendants, jointly and severally, for his actual damages in an amount to be determined at trial,

with post judgment interest at the statutory rate, statutory damages for each violation as provided

for by N.C.G.S. for as provided in § 75-5(b), as well as his attorneys’ fees and costs as provided

by § 75-5(b) , and for such other and further relief as the Court deems appropriate.

                                   DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury as to all issues.




                                                    7

         Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 7 of 8
This the 20th day of March, 2018.

                                          WHITLEY LAW FIRM

                                    By:   /s/ Ann C. Ochsner
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                                      8

Case 1:18-cv-00071-MR-DLH Document 1 Filed 03/20/18 Page 8 of 8
